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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 JANE DOE 2, et al.,
      Plaintiffs
      v.                                                   Civil Action No. 17-1597 (CKK)
 PATRICK SHANAHAN, et al.,
      Defendants


                                            NOTICE
                                         (March 19, 2019)

       The Court is in receipt of Defendants’ [190] Notice. In their Notice, Defendants informed

the Court that, as there was no longer an impediment to the military’s implementation of the

Mattis Policy, Defendants intended to release a Directive-Type Memorandum (“DTM”) formally

implementing the new policy in the near future. Four days later, Defendants released the DTM.

The DTM will formally take effect 30 days after its release, on April 12, 2019.

       Defendants were incorrect in claiming that there was no longer an impediment to the

military’s implementation of the Mattis Policy in this case. Originally, there were four

nationwide preliminary injunctions mandating that Defendants maintain the status quo. However,

on January 22, 2019, the Supreme Court of the United States issued a short order staying the

nationwide preliminary injunctions which had been in place in the United States District Court

for the Western District of Washington and the United States District Court for the Central

District of California. And, on March 7, 2019, the United States District Court for the District of

Maryland stayed its own nationwide preliminary injunction. Accordingly, three of the

nationwide preliminary injunctions which had been in place are now stayed.

       But, the nationwide preliminary injunction issued by this Court remains in place. On

October 30, 2017, this Court issued a preliminary injunction directing Defendants “to revert to

the status quo with regard to accession and retention that existed before the issuance of the
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Presidential Memorandum.” Oct. 30, 2017 Memorandum Opinion, ECF No. 61, 4. On January 4,

2019, the United States Court of Appeals for the District of Columbia Circuit (“D.C. Circuit”)

issued a per curiam opinion vacating this Court’s preliminary injunction. Jane Doe 2 v.

Shanahan, No. 18-5257, Jan. 4, 2019 Judgment. However, that Judgment has not been made

final through a mandate.

       In their opinion, the D.C. Circuit ordered the Clerk of the Court “to withhold issuance of

the mandate herein until seven days after resolution of any timely petition for rehearing or

petition for rehearing en banc.” Jane Doe 2, No. 18-5257, Jan. 4, 2019 Judgment, 5. Usually, a

party has 45 days to file a petition for rehearing or for rehearing en banc when an officer of the

United States is sued in an official capacity. Fed. R. App. P. 40(a). Under the Rules, Plaintiffs’

petition for rehearing or for rehearing en banc would have been due February 18, 2019. But, on

January 31, 2019, the D.C. Circuit ordered, on its own motion, that the time for filing any

petition for rehearing or petition for rehearing en banc be extended to 21 days after the issuance

of the court’s forthcoming separate opinions. Jane Doe 2, No. 18-5257, Jan. 31, 2019 Order. The

D.C. Circuit’s separate opinions were filed on March 8, 2019. Accordingly, Plaintiffs have until

March 29, 2019 to file for rehearing or rehearing en banc. As of this date, Plaintiffs’ time has not

expired. As such, the D.C. Circuit’s mandate vacating this Court’s preliminary injunction has not

issued, and the mandate will not issue until March 29, 2019, at the earliest.

       Absent a mandate, the D.C. Circuit’s January 4, 2019 Judgment vacating this Court’s

preliminary injunction is not final. Under the Federal Rules of Appellate Procedure, “[t]he

mandate is effective when issued.” Fed. R. App. P. 41(c). And, as the Advisory Committee notes

explain, “[a] court of appeals’ judgment or order is not final until issuance of the mandate; at that

time the parties’ obligations become fixed.” Fed. R. App. P. 41(c) Advisory Committee’s notes



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(1998). Lacking a mandate, the D.C. Circuit’s Judgment is not final, and this Court’s preliminary

injunction remains in place. See United States v. DeFries, 129 F.3d 1293, 1302-1304 (D.C. Cir.

1997) (finding that the D.C. Circuit’s judgment was not final absent a mandate).

          The fact that the three other nationwide preliminary injunctions which had been in place

are now stayed has no impact on the continued effectiveness of this Court’s preliminary

injunction. On October 30, 2017, this Court ordered Defendants to maintain the status quo as it

relates to the accession and retention of transgender individuals in the military. That preliminary

injunction remains in place until the D.C. Circuit issues its mandate vacating the preliminary

injunction. Lacking a mandate, Defendants remain bound by this Court’s preliminary injunction

to maintain the status quo. The Court understands, as a practical matter, that because the three

other nationwide preliminary injunctions are now stayed, Defendants are permitted by those

cases to implement the DTM, but they are not permitted to do so in this case until the mandate is

issued.

                                                         /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge




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